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Case 4:14-CV-00379-REB Document 3-3 Filed 09/10/14 Page 1 of 14

MEDICAL RECOVERY SERVICES, LLC 12/14/2011

DEBT COLLECTIONS

PO BOX 51178 / 430 SHOUP AVE Intermountain Emergency Ph
IDAHO FALLS, ID 83405 664.00

(208) 359-9447

TERRI L. CARSON Account No: 144288~21465
1780 BALBOA DR
IDAHO FALLS, ID 83404-6432

THIS ACCCOUNT HAS BEEN ASSIGNED TO US FOR IMMEDIATE COLLECTION. PERHAPS YOU
HAVE NOT INTENTIONALLY NEGLECTED THIS OBLIGATION. IT IS SERIOUSLY PAST DUE
AND REQUIRES YOUR IMMEDIATE ATTENTION.

THERE ARE THREE WAYS TO SETTLE THIS ACCOUNT:

l. YOU MAY SEND PAYMENT IN FULL;

2. YOU MAY COME INTO OUR OFFICE AND MAKE ARRANGEMENTS TO PAY YOUR ACCOUNT; OR
3. YOU MAY CONTACT OUR OFFICE BY PHONE AND MAKE ARRANGEMENTS FOR PAYMENT.

ALL COMMUNICATION AND PAYMENTS MUST BE MADE TO MEDICAL RECOVERY SERVICES, LLC.

THANK YOU,

THE COLLECTION DEPARTMENT

If you dispute the validity of this debt in writing within 30 days, we will mail verification
of the debt to you. IE you do not dispute the validity of this debt within 30 days, we will
assume it is valid. At your request we will provide you with the name and address of the
original creditor if different from the current creditor. As required by law, you are hereby
notified that a negative credit report reflecting on your credit record may be submitted to a
credit reporting agency if you fail to fulfill the terms of your credit obligations. Accounts

THIS IS AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

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Case 4:14-CV-00379-REB Document 3-3 Filed 09/10/14 Page 2 of 14

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13er D' Smit,h» Esq‘ ISB # 4411 tvii¢\:p\"it_ iii:'iili
Bryan N. Zolhnger ISB # 8008

SMITH, DRISCOLL & ASSOCIA'I`ES, PLLC lZ FEB 23 Fi'l iii il l
414 Shoup Avenue

P.O. Box 50731
Idaho Falls, Idaho 83405
(2()8) 524-0731

Attorneys for Plaintiif

IN THE DISTRICT COURT OF THE SEVENTH JUDICLAL DIS'I`RICT OF THE STATE OF
IDAHO, lN AND FOR THE COUNTY OF BONNEVILLE
MAGISTRATE DIVISION

MEDICAL RECOVERY SERVICES, LLC,

an Idaho limited liability company
Case No. p,l/Qn//@S

Plaintiff,
COMPLAINT

vs.
Fee: $8 8 .00

TERRI L. CARSON and JANE DOE,
husband and wife,

Defendants.

 

 

COMES NOW plaintiff, Medical Recovery Services, LLC, and for a claim against
defendants, alleges as follows:

l. The plaintiff is an Idaho limited liability company qualified to do business in the Si'ate
of ldaho.

2. 'l`he defendant Telri Caxson is an individual residing in the State ofldaho.

3. The Doe defendant is sued herein under a fictitious name The tictitiously named
Doe defendant whose true name is unlcnown, is the spouse of the defendant 'l`erri Carson who
incurred the debt sued upon in furtherance of and for the benefit of the community between the

defendants, 01' is otheiwise liable for the amounts sued upon. Accordingly, the Doe defendant is

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Case 4:14-CV-00379-REB Document 3-3 Filed 09/10/14 Page 3 of 14

liable for the debt sued upon, and the plaintiff will amend this complaint by inseiting the true
name when the Doe defendants true name is ascertained

4. At all times mentioned herein the plaintiff was, and still is, a licensed and bonded
collector under the laws of the State of Idaho, and before the commencement of this action the
debt herein sued upon was assigned by Intermountain Emergency Physicians to the plaintiff for
the purpose of collection The plaintiff is now the holder thereof for such purposesl

5. The defendants are husband and wife who incurred the debt as alleged herein for
community pmposes.

6. 'l`he defendants are indebted to the plaintiff by reason of the allegations herein and
owe the plaintiff in the following stated amounts:

INTERMOUNTAIN EMERGENCY PHYSICIANS

Principal Amount Owing $ 770.81
Prejudgment lnterest § 125..?.8
1 Subtotal $ 896.09
TOTAL $ 896.09

7. The plaintiff is entitled to further prejudgment interest from the date the complaint is
filed until judgment is entered

8. Despite the plaintiffs requests and demands, and without offering any reason or
objection to the bill, the defendants have failed to pay the indebtedness in full..

9. To obtain payment of the obligation due, the plaintiff has been required to retain the
services of Smith, Driscoll & Associates PLLC, attorneys at law. This action arises from an
open account and/or from services provided Moreover, written demand for payment on the
defendants has been made more than 20 days prior to commencing this action. Pursuant to Idaho
Codc § 12-120(1) and 12-120(3) the plaintiff is entitled to recover the plaintiffs attorney’s fees

incurred herein in the sum of $3 85.00 if judgment is taken by default and such greater amounts

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Case 4:14-cV-00379-REB Document 3-3 Filed 09/10/14 Page 4 of 14

as may be evidenced to the court if this claim is contested Pursuant to Idaho Rules of Civil
procedure § 54(d)(1) the plaintiff is further entitled to recover the plaintiffs costs incurred
herein.

WHEREFORE, the plaintiff demands judgment against the defendants, and each of
them, for the principal sum of $770.81, together with legal interest on said sum in the amount of
$125.28, the filing fee of $88.00 and attomey’s fees incurred herein in the sum of $385.00, for a
combined total of $ l ,369.09 plus the costs of suit to be proven to the court, and for such other

and further relief as i;equitable andjust.

DA'rED; § gi/Febmary, 2012.

SMITH, DRISCOLL & ASSOCIATES, PLLC

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%én' N. Zol'iffiger
Attorneys for Plaintiff

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Case 4:14-cV-00379-REB Document 3-3 Filed 09/10/14 Page 5 of 14

NoTrCE UNDER FEDERAL FAIR DEBT CoLLECTtoN
PRACTICES ACT 15 U.s.C. §§ 16923 co 16920

Terri Carson and Jane Doe
1780 Balboa Dr Apt C
Idaho Falls, ID 83404

1. Amount of Debt exclusive of interest $770.81
2. Name of Creditor: Medical Recovery Services, LLC

3. Unless you dispute the validity of the above-described debt, or a portion thereof, within 30
days of your receipt of this letter, we will assume that the debt is valid

4. If you notify us, in writing, within 30 days of your receipt of this letter that you dispute the
debt, or a portion thereof, we will obtain verification of the debt, or a copy of any judgment, and
will mail you a copy of the verification or judgment

5. If you request, in writing, within 30 days of your receipt of this letter, we will provide you
with the name and address of the original creditor, if different from the current creditor described

above.

6. This Notice informs you of specific rights to information under federal law. Any judgment in
this legal action will not be taken by default until 30 days after you have been served a stu'nmons
and a copy of the complaint Thus, no judgment will be taken within 30 days of this Notice. The
30 days allowed by this Notice are not in addition to the requirements of state law.

NOTE: This is an attempt to collect a clebt. Any infomlation obtained will be used for that purpose

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Bryan D. Smith, Esq. ISB # 4411
Bryan N. Zollinger ISB # 8008

sMrTH,DRrsCoLL & AssoCIATES, PLLC 12 FCB?~ 3?%?[}"'? MR "5 AH lU= Ul+

414 Shoup Avenue

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P.o. Box50731 m‘isr”z§:§r" s brri"Y
Idaho Falls, Idaho 83405 s -*‘*i§EFC-'?E ’l\?-ED tDAHO
(208) 524-0731 `

Attomeys for Plaintiff

lN THE DISTRICT COURT OF THE SEVENTH JUDICIAL DISTRICT OF THE STATE OF
IDAHO, lN AND FOR THE COUNTY OF BONNEVILLE
MAGISTRATE DIVISION

MEDICAL RECOVERY SERVICES, LLC,
an Idaho limited liability company,

CaseNo. (`l[` bn ug z

SUMMONS

Plaintiff,
vs.

TERRI L. CARSON and JANE DOE,
husband and wife

Defendants.

 

 

NOTICE: YOU HAVE BEEN SUED BY THE ABOVE-NAMED PLAINTIFF(§L
THE COURT MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER
NOTICE UNLESS YOU RESPOND WITHIN 30 DAYS. READ THE INFORMATION

BELOW.
TO: Terri Carson and lane Doe

1780 Balboa Dr Apt C

Idaho Falls, ID 83404

You are hereby notified that in order to defend this lawsuit, an appropriate written
response must be filed with the above designated court within 30 days after service of this

Summons on you. If you fail to so respond the court may enterjudgment against you as

demanded by the plaintiff(s) in the Complaint.

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Case 4:14-cV-00379-REB Document 3-3 Filed 09/10/14 Page 7 of 14

A copy of the Complaint is served with this Summons. lfyou wish to seek the advice of
or representation by an attorney in this matter, you should do so promptly so that your written
response, if any, may be filed in time and other legal rights protected

An appropriate written response requires compliance with Rule lO(a)(l) and other Idaho

Rules of Civil Procedure and shall also include:

i. The title and number-of this case;

2. If your response is an Answer to the Complaint, it must contain admissions or
denials of the separate allegations of the Complaint and other defenses you may
claim; 7

3. Your signature, mailing address and telephone number, <_); the signature, mailing

address and telephone number of your attorney; and

4. Proof of mailing or delivery of a copy of your response to plaintiffs attomey, as
designated above.

To determine whether you must pay a filing fee with your response, contact the Clerk of

the above-named court.

' §§ ,»/_,? ,/;1 \._ _z_:,’/’
DATED this day of _&L 2012. y;;,.~,\,sf_t,,a gt;:;i,_;gt?,m£_.

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CLERK OF THE DISTRICT COURT

By @ l
Deputy §lerlc

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MEDICAL RECOVERY SERVICES, LLC 01/03/2013
DEBT COLLECTIONS

PO BOX 51178 / 430 SHOUP AVE

IDAHO FALLS, ID 83405

(208) 359-9447

TERRY CARSON AccOunt NO: 159991-70282
1780 BALBOA DR APT C
IDAHO FALLS, ID 83404-6432

***************FINAL NOTICE**************J\'

YOUR ACCOUNT MUST BE PAID!
OUR RECORDS INDICATE THAT A COLLECTION EFFORT TO RECOVER THIS DEBT WILL BE
SUCCESSFUL. DO NOT FORCE US TO TAKE FURTHER ACTION.

SEND PAYMENT TO OUR OFFICE IMMEDIATELY.

THE COLLECTION DEPARTMENT

ACCT # CLIENT AMOUNT INT FEES TOTAL
159991 Intermountain Emergency Ph 181.90 0.00 0.00 181.90
~164308 Intermountain Emergency Ph 723.00 0.00 0.00 723.00
167171 Womens Healthcare Associat 946.60 0.00 0.00 946.60

TOTAL AMOUNT DUE 1851.50
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THIS IS AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATION OB`l`AINED WILL BE USED FOR THIS PURPOSE.

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MEDICAL RECOVERY SERVICES, LLC 05/09/2014
DEBT COLLECTIONS

PO BOX 51178 / 430 SHOUP AVE

IDAHO FALLS, ID 83405

(208)359~9447

TERRY CARSON ACCOunt NO: 159991-70282

PO BOX 52063
IDAHO FALLS, ID 83405~2063

IS LEGAL ACTION REALLY NECESSARY TO SETTLE THES MATTER? IF SUIT IS
FILED AND A JUDGMENT ENTERED AGAINST YOU, YOUR PERSONAL PROPERTY OR
SALARY MAY BE ATTACHED. YOU WILL ALSO BE REQUIRED TO PAY INTEREST,
COURT COSTS, AND ATTORNEY FEES AS ALLOWED BY THE COURT. YOU MAY AVOID
ADDED EXPENSE BY:

l. MAILING YOUR PAYMENT IN FULL BY RETURN MAIL; OR
2. SENDING PART PAYMENT AND ADVISING WHEN THE BALANCE WILL BE PAID.
WE WILL WITHHOLD REFERRING THIS MATTER FOR LEGAL ACTION FOR TEN (10)

DAYS TO GIVE YOU AN OPPORTUNITY TO COMPLY WITH OUR REQUEST. WE
APPRECIATE YOUR PROMPT ATTENTEON TO THIS MATTER.

THE COLLECTION DEPARTMENT

ACCT # CLIENT AMOUNT INT FEES TOTAL
159991 Intermountain Ernergency Ph 1:81.90 0.00 0.00 181.90
164308 Intermourrt_ain Emergency Ph 723.00 0.00 0.00 '723.00

167171 Womens Healthcare Associat 946.60 0.00 0.00 946.60
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Case 4:14-cv-00379-REB Document 3-3 Filed 09/10/14 Page 10 of 14

Bryan N. Zollinger ISB #8008
SMITH, DRISCOLL & ASSOCIATES, PLLC

P.O. Box 50731 ,
idaho Faiis,tdaho 83405 ll mill 23 sz 2¢ 09

(208) 524-0731
Attoiney for Plaintiff

lN THE DISTRICT COURT OF THE SEVENTH JUDICIAL DlSTRlC'l` OF THE S'l`ATE
OF IDAI~IO, IN AND FOR THE COUNTY OF BONNEVILLE
MAGISTRATE DIVISION

MEDICAL RECOVERY SERVICES, LLC,

an ldaho limited liability company,
Case Number: CV-12-1.123

Plaintiff,
vs. ORDER OF EXAMINATION

TERRI L. CARSON

 

Defendant
To: Terri Carson, 1780 Balboa Dr Apt C, Idaho Falls, ID 83404

 

'l`he plaintiff filed an application on the 14th day of May, 2014, entitled
“APPLICATION FOR ORDER OF EXAMINATION”. Based on the applicable law and
good cause appearing therefore, the court hereby grants the application and orders you to
“appear and answer upon oath concerning [your] property” pursuant to ldaho Code Section
ll-501 at the following address at 9:00 a.m. on Friday, July l l, 2014:

Bonneville County Courthouse 605 N Capital Idaho Falls, Id 83402.

FAILURE TO APPEAR AS DIRECTED by this order may result in the court issuing

a writ of body attachment (arrest warrant) in which case the local sheriff will bring you to the

courthouse to compel your appearance

DATEDihiSL)_D_day or_AglLb% ,zolf_“l

/S/ Steven A. Gardner
Magistrate Jud ge

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LAW oFFlcEs oF
SMlTH, DRlSCOLL & ASSOC|ATES, PLLC

414 SHOUP AVE.

BRYAN D. sMiTH POST OF,=,CE BOX 5073, TELEPHONE (206)524-0731

B.J. DR|SCD|_L |DAHO FALLS_ |DAHO 33405 FAX (208) 529-4136

BRYAN N. ZOL|_|NGER e-mai|: info@eidaholaw.com
DOUG G. BOWEN

May 28, 2014

'l`erri Carson
1780 Balboa Dr Apt C
ldaho Falls, ID 83404

Re: Medical Recovery Ser'vices, LLC v. Terri Carson
Bonneville County Case Number CV-12-1123

Dear Terri Carson :
Please find an ORDER OF EXAMINA'I`ION attached to this letter.

Pursuant to the attached Order, you are required to appear before the court at 9:00 a.m. on
July ll, 2014 regarding a Judgment taken against you by Medical Recovery Services, LLC.
If you fail to appear before the Court at 9:00 a.m. on July 11, 2014, we will seek an Arrest
Warrant, and the County Sheriff`s Department will bring you before the Court.

You can avoid appearing before the court at 9:00 a.m. on July 11, 2014 if you call our
offices, schedule an appointment to meet with an attorney at our offices, and actually meet
with an attorney at our offices no later than July l, 2014.

Again, you have been served with a Court Order to appear before the Court at 9:00 a.in. on
July 11, 2014. You will not need to appear pursuant to the Order ONLYIF you meet with an
attorney at our offices no later than July 1, 2014. YOU MUST SCHEDULE THIS
APPOINTMENT, WE WILL NOT DO lT FOR YOU!

Sincerely,
Smith, Di'iscoll & Associates, PLLC

Robert Draper
Assistant to Bryan N. Zollinger
NOTE: This is an attempt to collect a debt. Any information obtained will be used for

that purpose.

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MEDICAL RECOVERY SERVICES, LLC 06/09/2014
DEBT COLLECTIONS

PO BOX 51178 / 430 SHOUP AVE

IDAHO FALLS, ID 83405

(208) 359-9447

TERRY CARSON ACCOunt NO: 159991~70282
PO BOX 52063
IDAHO FALLS, ID 83405-2063

COST OF SUIT

DO YOU REALIZE THE ADDITIONAL COST OF SUIT TODAY? YOU HAVE EITHER
FAILED TO RESPOND TO OUR PREVIOUS NOTICES OR YOU HAVE FAILED TO KEEP A
PREVIOUS AGREEMENT. YOU CAN STILL PREVENT LEGAL ACTION BY SENDING PAYMENT
IN FULL TO THIS OFFICE WITHIN 72 HOURS OR CALLING US TODAY!

DO YOU REALIZE WHAT WE CAN INSTRUCT THE SHERIFF TO DO?

WITH A JUDGMENT, OUR ATTORNEY CAN HAVE THE SHERIFF GARNISH YOUR WAGES;
GARNISH YOUR CHECKING OR SAVINGS ACCOUNT; LEVY ON ANYTHING YOU OWN OR HAVE
ABOVE LEGAL EXEMPTIONS. THIS COULD MEAN YOUR HOME, PROPERTY, VEHICLE,
FURNITURE, ETC.

IN OTHER WORDS, YOU WILL BE RESPONSIBLE TO PAY FOR THE ACCOUNTS BELOW PLUS
YOU COULD BE SUBJECT TO ATTORNEY FEES, INTEREST, COURT COSTS, AND SHERIFF
FEES. MAY WE PLEASE HEAR FROM YOU?

SINCERELY,

THE COLLECTION DEPARTMENT

ACCT # CLIENT AMOUNT INT_ w trans TOTAL
159991 'thter‘rnouri£ain"`r;iiiéigén?:y Ph 'i`at`.`§t')`v 0“.“6'0 " 0*.00 181.90
164308 Intermountain Emergency Ph 723.00 0.00 0.00 723.00
167171 Wcmens Healthcare Associat 946.60 0.00 0.00 946.60

TOTAL AMOUNT DUE 1851.50

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THIS IS AN A']`TEMPT '1`0 COLI..ECT A DEBT. ANY INFORMATION OBTAINED W]`,LL BE USED E`OR THIS PURPOSE.

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MEDICAL RECOVERY SERVICES, LLC 07/10/2014

DEBT COLLECTIONS

PO BOX 51178 / 430 SHOUP AVE Intermountain EmergeI-icy Ph
IDAHO FALLS, ID 83405 824.00

(208) 359-9447

TERRY CARSON ACCOunt NO: 217871-70282

PO BOX 52063
IDAHO FALLS, ID 83405~2063

THIS ACCCOUNT HAS BEEN ASSIGNED TO OUR OFFICE FOR COLLECTIONS. PERHAPS YOU
HAVE NOT INTENTIONALLY NEGLECTED THIS OBLIGATION. IT IS SERIOUSLY PAST DUE
AND REQUIRES YOUR ATTENTION.

THERE ARE THREE WAYS TO SETTLE THIS ACCOUNT:

l. YOU MAY SEND PAYMENT IN FULL;

2. YOU MAY COME INTO OUR OFFICE AND MAKE ARRANGEMENTS TO PAY YOUR ACCOUNT; OR
3. YOU MAY CONTACT OUR OFFICE BY PHONE AND MAKE ARRANGEMENTS FOR PAYMENT,

ALL COMMUNICATION AND PAYMENTS MUST BE MADE TO MEDICAL RECOVERY SERVICES, LLC.

THANK YOU,

THE COLLECTION DEPARTMENT

if you dispute rhe"$arialty of edis'eebt in writing n;rnin 30 oays; we wirr~mair verification
of the debt co you. if you do not dispute the validity of this deb: within 30 days, we will
assume it is valid. At your request we will provide you with the name and address of the
original creditor if different from the current creditor. ns required by law, you are hereby
notified that a negative credit report reflecting on your Credit record may be submitted Lo a
credit reporting agency if you fail to fulfill the terms of your Credit obligations. Accounts
will incur a finance charge of 12% per year or l% per month on unpaid balances.

THIS IS AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

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Case 4:14-cv-00379-REB _Document 3-3 Filed 09/10/14 Page 14 of 14

 

 

 

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